                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


ESTATE OF RUTH FREIWALD,
by Personal Representative Charles Freiwald, et al.,

                       Plaintiffs,
       v.                                                             Case No. 18-C-896


ADEYEMI FATOKI, et al.,
                       Defendants.



                 MOTION OF ATTORNEY ARIEL OLSTEIN TO WITHDRAW
                           AS COUNSEL FOR PLAINTIFFS


       Attorney Ariel Olstein respectfully requests leave to withdraw his appearance as

one of the attorneys of record for Plaintiffs in this case.

            1.   Mr. Olstein asserts as an officer of the court that he has good cause to

  withdraw from this case and that Plaintiffs will not be harmed by his withdrawal.

            2.   Plaintiffs retained attorneys Nicole Auerbach of Valorem Law Group and

  Dixon R. Gahnz of Lawton & Cates, S.C. to represent them in this lawsuit. Mr.

  Olstein was employed by Valorem Law Group and worked on the case while

  employed.

            3.   Mr. Olstein subsequently left Valorem Law Group and filed a new

  appearance through his new law firm, Chanen & Olstein. Mr. Olstein’s work on the

  case has ended and he would like to withdraw his appearance.

            4.   Attorneys Auerbach and Gahnz, who are members of this Court’s trial bar,

  will continue to actively represent Plaintiffs in this case. There will be no delay in

  the case as a result of the withdrawal.

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      WHEREFORE, Ariel Olstein respectfully requests the Court grant him leave to

withdraw as one of the attorneys of record for Plaintiffs in this case.

Dated: July 2, 2021

                                        Respectfully submitted,

                                        /s/ Ariel Olstein


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                              CERTIFICATE OF SERVICE

      I certify that on July 2, 2021, I filed the attached Motion of Ariel Olstein to

Withdraw as Counsel for Plaintiffs using the Court’s Electronic Court Filing (ECF)

system and that each counsel of record will be served a copy through the ECF system.


                                        /s/ Ariel Olstein




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